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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

  UNITED STATES OF AMERICA,

                          Plaintiff,

  v.                                                          Case No. 24-CR-320-JFH

  ERIK REY GARCIA,

                          Defendants.


                                       OPINION AND ORDER

           Before the Court is Defendant’s Objections [Dkt. Nos. 33, 34] to Magistrate Judge Steele’s

 Report and Recommendation [Dkt. No. 29], which recommends denying Defendant’s Motion to

 Suppress [Dkt. No. 21]. For the reasons set forth below, Defendant’s objections are overruled.

 Magistrate Judge Steele’s Report and Recommendation [Dkt. No. 29] is adopted and Defendant’s

 Motion to Suppress [Dkt. No. 21] is denied.

                            BACKGROUND AND PROCEDURAL HISTORY

           On October 8, 2024, an Indictment was returned against Defendant charging him with

 Felon in Possession of a Firearm. Dkt. No. 2. On November 5, 2024, Defendant filed an opposed

 Motion to Suppress, in which Defendant argued that he had been unlawfully seized as the result

 of a baseless traffic stop. Dkt. No. 21. In particular, Defendant argued that the reason given for

 the traffic stop – that Defendant had been “riding the fog line” – was disproven by the evidence in

 the case, and, as such, the officer’s seizure of Defendant was unreasonable and the subsequent

 search of Defendant’s vehicle (which yielded an illicitly possessed firearm) was unlawful. Dkt.

 No. 21.

           Defendant’s Motion was referred to Magistrate Judge Steele on November 6, 2024 [Dkt.

 No. 23], and an evidentiary hearing on Defendant’s Motion was held on November 15, 2024. Dkt.
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 No. 28. The Government presented the testimony of Oklahoma Highway Patrol Officer Elijah

 Presley, who was the officer who executed the traffic stop in question. Dkt. No. 35 at 5-28.

 Trooper Presley testified that on the night in question – about 1:00 a.m. on May 12, 2024 – he was

 patrolling Highway 75 near the Tulsa – Okmulgee county line. Id. at 7. The officer testified that

 the stretch of Highway 75 in question is straight and in good condition. Id. at 8. As Trooper

 Presley was driving north in the passing lane he observed a black Nissan Titan pickup truck in the

 right lane some distance ahead of him; there were two vehicles between Trooper Presley and the

 pickup truck. Id. at 9. Trooper Presley testified that he observed the pickup truck cross over the

 fog line (a white line line demarcating the edge of the lane) two or three times, with the truck’s

 passenger side tires completely crossing over the line. Id. at 9-10. The trooper testified that, as he

 sped up to further observe the truck, he observed that the truck touched the fog line two more

 times. Id. at 10-11. The trooper initiated the traffic stop at that point. Id. at 11.

        Trooper Presley’s dashboard camera partially captures Presley’s perspective leading up to

 the stop. Dkt. No. 21-1; 21-2. This Court has reviewed the relevant portions of the dash cam

 videos.1 The dash cam video begins when Trooper Presley is some distance back from Defendant,

 and it is difficult to see the Defendant’s truck on the video. However, the video quality is quite

 low, and this Court has no difficulty believing that Trooper Presley’s vision was better than the

 video captured by his camera. Further, the dash camera only began recording footage 30 seconds

 prior to Presley activating his lights and sirens. Dkt. No. 35 at 7. As such, the video sheds no light

 on what Trooper Presley may have observed prior to the recording, and, indeed, Presley testified

 that there were infractions not captured on the video. Dkt. No. 35 at 11. As the video progresses,



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  The Court will confine its discussion to Defendant’s Exhibit 21-1; Exhibit 21-2 appears to capture
 substantively similar footage to 21-1 with the only difference being that it is of substantially lower
 quality.
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 Trooper Presley speeds up and moves in behind the Defendant’s truck before turning on his lights

 and pulling Defendant over. The video appears to show Defendant quite close to the fog line, but

 it is unclear whether Defendant actually touches the line; the video does not show Defendant

 crossing the fog line.

        On November 19, 2024, Magistrate Judge Steele issued his Report and Recommendation

 in this matter. Dkt. No. 29. Magistrate Judge Steele found that Trooper Presley’s testimony was

 credible and, accordingly, the traffic stop of Defendant had been lawfully initiated based upon

 Trooper Presley’s observation of Defendant’s traffic infractions. Id. Magistrate Judge Steele

 accordingly recommended that this Court deny Defendant’s Motion to Suppress. Id.

                                ARGUMENT AND AUTHORITY

        I.      The traffic stop of Defendant was justified.

        The Defendant objects to the Report and Recommendation, arguing that Trooper Presley’s

 dash cam video demonstrates that there was no valid reason for Presley to initiate the traffic stop

 of Defendant; Defendant further argues that the video footage contradicts the officer’s testimony

 and, as such, it was unreasonable for Magistrate Judge Steele to hold that Presley’s testimony was

 credible. Dkt. Nos. 34-35. After de novo review of the record, this Court does not agree.

        A. Standard of review and applicable legal standards.

        This Court will “consider de novo” Defendant’s objections to Magistrate Judge Little’s

 Report and Recommendation. Fed. R. Crim. P. 59(b).

                i.        Governing Fourth Amendment standards.

        The Fourth Amendment to the United States Constitution protects citizens against

 unreasonable searches and seizures and provides:




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         The right of the people to be secure in their persons, houses, papers, and effects,
         against unreasonable searches and seizures, shall not be violated, and no Warrants
         shall issue, but upon probable cause, supported by Oath or affirmation, and
         particularly describing the place to be searched, and the persons or things to be
         seized.

 U.S. Const. amend. IV.

         A traffic stop, such as the one at issue, is a “seizure” within the meaning of the Fourth

 Amendment. United States v. Rodriguez-Rodriguez, 550 F.3d 1223, 1226 (10th Cir. 2008). The

 Tenth Circuit has stated that, in analyzing the constitutionality of a traffic stop, courts are to employ

 the “reasonable suspicion” standard set forth in Terry v. Ohio, 392 U.S. 1 (1968). United States v.

 Winder, 557 F.3d 1229, 1133 (10th Cir. 2009).

         This analysis requires a court to first ask “whether an officer’s stop of a vehicle was

 justified at its inception.” Id. A stop is justified at its inception when an officer has: “(1) probable

 cause to believe a traffic violation has occurred, or (2) a reasonable articulable suspicion that a

 particular motorist has violated any of the traffic or equipment regulations of the jurisdiction.” Id.

 at 1134 (citing United States v. Martinez, 512 F.3d 1268, 1272 (10th Cir. 2008)). To establish

 reasonable suspicion, an officer must provide “some minimal level of objective justification.” INS

 v. Delgado, 466 U.S. 210, 217 (1984). An officer need not “rule out the possibility of innocent

 conduct,” so long as the “totality of the circumstances suffices to form a particularized and

 objective basis for a traffic stop.” United States v. Vercher, 358 F.3d 1257, 1261 (10th Cir. 2004)

 (citing United States v. Arvizu, 534 U.S. 266, 277-78, (2002)). Evidence falling “considerably

 short” of a preponderance standard may still satisfy the reasonable suspicion standard. Winder,

 557 F.3d at 1134 (quoting Arvizu, 534 U.S. at 274).




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                ii.     Applicable Oklahoma law.

        At issue in this matter is Oklahoma Statutes Title 47, Section 11-309, which provides:

 “Whenever any roadway has been divided into two or more clearly marked lanes for traffic, the

 following requirements in addition to all others consistent herewith shall apply: A vehicle shall

 be driven as nearly as practicable entirely within a single lane.”

        The interpretation of this statute is, of course, a matter of state law. However, the Court is

 aware of no Oklahoma case law interpreting this precise statutory provision; instead, much of the

 case law pertaining to this statute (and identical statutes from other states) has arisen in federal

 courts, in disputes such as the present one. In the Report and Recommendation, Magistrate Judge

 Steele relied upon United States v. Bassols, 775 F. Supp. 2d 1293, 1300 (D.N.M. 2011) for the

 proposition that “driving on a lane marker” is sufficient to violate the statute at issue. Dkt. No. 29

 at 6-7. Bassols, in turn, relied upon the Tenth Circuit’s unpublished decision in United States v.

 De La Fuente-Ramos, 2000 U.S. App. LEXIS 29309 (10th Cir. 2000), in which the Tenth Circuit

 held that a vehicle “touching the lane line three times” was sufficient for a finding of reasonable

 suspicion under the Oklahoma statute.

        Defendant objects to Magistrate Judge Steele’s legal holdings, arguing that Magistrate

 Judge Steele erroneously fails to give due accord to the Tenth Circuit’s decision in United States

 v. Gregory, 79 F.3d 973 (10th Cir. 1996). Dkt. No. 34 at 7-8. Defendant’s objections are off

 base; Magistrate Judge Steele’s Report and Recommendation is entirely in keeping with Gregory.

 But Gregory is of no avail to Defendant, as it is clearly distinguishable; Gregory concerned a

 traffic stop initiated by an officer upon observing a single instance of a vehicle crossing over the

 fog line on a winding mountain pass on a windy day. 79 F.3d at 975. These facts are clearly

 distinguishable from the present case, in which Defendant was on a straight, well-maintained



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 highway on a clear night, and the officer testified that Defendant crossed the fog line and drove on

 the fog line multiple times.

         B. Trooper Presley’s testimony established reasonable suspicion for the traffic stop
            of Defendant.

         In objecting to Magistrate Judge Steele’s Report and Recommendation, Defendant

 primarily contends (1) that Trooper Presley’s dash camera footage unequivocally demonstrates

 that Trooper Presley could not see Defendant until the officer was relatively close to Defendant’s

 truck and (2) that the camera footage shows that Defendant’s truck did not touch the fog line as

 the officer moved nearer to Defendant and pulled him over. Dkt. No. 35 at 2-5. From this,

 Defendant argues, Trooper Presley’s testimony that he observed Defendant crossing the fog line

 several times is contradicted by the dash camera video, and it was error for Magistrate Judge Steele

 to find such testimony credible. Id.

         Defendant’s objections are off base, and his argument places more weight on the dash

 camera footage than it can comfortably bear. It is true that when the footage begins it is quite

 difficult to see Defendant’s truck on the camera footage. But the camera footage is not high

 resolution, and the vantage point of the camera is relatively low within the vehicle. The Court has

 no difficulty in believing Trooper Presley that his vision is “far better” than the quality of the

 footage captured on the dash camera video. Dkt. No. 35 at 6. Further, the record demonstrates

 that the dash camera only records footage beginning 30 seconds prior to activation of the officer’s

 lights and sirens. Dkt. No. 35 at 7. Thus, there is simply no video of any infraction that may have

 occurred prior to when the footage begins, and, indeed, Trooper Presley testified that there were

 infractions not captured on the video. Dkt. No. 35 at 11. This Court, from the evidence of the

 video alone, cannot conclude that Trooper Presley gave false testimony regarding Defendant’s

 traffic infractions.

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        The entire issue of whether Trooper Presley could see Defendant prior to approaching near

 to him is something of a red herring. The video does not, in this Court’s view, show the Defendant

 crossing the fog line entirely as the officer approaches Defendant, but, from the evidence of the

 video, it was entirely reasonable for Trooper Presley to conclude that Defendant was driving for

 several seconds on the fog line. Taking all circumstances into consideration – the road was straight

 and well-maintained and the weather was clear – Trooper Presley could have had a reasonable

 suspicion that Defendant, by driving for several seconds on the fog line, had violated 47 O.S. §11-

 309. Defendant’s driving for several seconds on the fog line was, alone, sufficient to justify

 reasonable suspicion, and this conduct, taken together with Trooper Presley’s prior observation of

 infractions by Defendant, more than suffices to establish reasonable suspicion for the initial seizure

 of Defendant.

        Defendant objects that Magistrate Judge Steele did not account for certain negative driving

 conditions facing Defendant, which would render his errant driving reasonable – namely, that the

 presence of cars behind Defendant and Trooper Presley’s use of his “brights” behind Defendant

 rendered it difficult for Defendant to see. Dkt. No. 34 at 6-7. Firstly, this Court does not agree

 that the video shows Trooper Presley brightening his headlights as he gets behind Defendant. On

 review of the video, the quality of Trooper Presley’s headlights does appear to brighten somewhat

 as he nears Defendant, but, in this Court’s view, this seems to be a consequence of the officer’s

 lights combining with the headlights of the car behind Defendant for a relatively brief period.

 Lastly, the Court rejects the notion that the presence of a vehicle behind the Defendant as he drove

 constitutes any kind of driving obstacle; Defendant’s argument is counter to common sense and

 experience. Every motorist of any experience is accustomed to driving with headlights behind

 and/or beside them without difficulty.



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                                         CONCLUSION

        Upon de novo review of the issues raised in Defendant’s Objection to Magistrate Judge

 Steele’s Report and Recommendation [Dkt. No. 29], the Court finds that Defendant’s Motion to

 Suppress [Dkt. No. 21] should be denied for all of the reasons set forth above.

        IT IS THEREFORE ORDERED that Defendant’s Objection [Dkt. Nos. 33, 34] is

 overruled, and the Court accepts Magistrate Judge Steele’s Recommendation that the Motion to

 Suppress [Dkt. No. 21] be denied.

        Dated this 19th day of December 2024.



                                                      JOHN F. HEIL, III
                                                      UNITED STATES DISTRICT JUDGE




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